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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


CLAYTON HAUGEN,

                       Plaintiff,

     v.                                Civil Action No. 2:21-cv-00035
ACTIVISION PUBLISHING, INC.,
ACTIVISION BLIZZARD, INC., INFINITY
WARD, INC., and MAJOR LEAGUE
GAMING CORP.,

                       Defendants.


  DEFENDANTS’ ANSWER TO PLAINTIFF CLAYTON HAUGEN’S COMPLAINT
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       Defendants Activision Publishing, Inc., Activision Blizzard, Inc., Infinity Ward, Inc., and

Major League Gaming Corp. (collectively, “Defendants”) submit this Answer in response to

Clayton Haugen’s (“Plaintiff”) Complaint for Copyright Infringement (“Complaint”).

Defendants deny the allegations and characterizations in the Complaint unless expressly

admitted in the following paragraphs.

I.     INTRODUCTION

       1.        Admit that the complaint purports to state a claim for copyright infringement

under 17 U.S.C. § 501. Admit that Plaintiff purports to bring this action as the owner of

copyrights in two literary works and 22 photographs based on a character that he purports to

have created named Cade Janus. Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 1 except as expressly admitted and therefore

deny the same.

       2.        Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 2 and therefore deny the same.

       3.        Admit that Activision Publishing, Inc. has published a number of games in the

Call of Duty franchise, including Call of Duty: Modern Warfare. Admit that Activision

Publishing, Inc. markets games in the Call of Duty franchise. Admit that Infinity Ward included

a female fighter character in Call of Duty: Modern Warfare. To the extent not expressly

admitted, deny.

       4.        Deny.

                 a.      Deny.

                 b.      Admit that Activision Publishing, Inc. hired Alex Rogers. To the extent

not expressly admitted, deny.

                 c.      Deny.
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               d.     Admit that a third-party contractor hired Aeni Domme. To the extent not

expressly admitted, deny.

               e.     Deny.

               f.     Deny.

               g.     Admit that a contractor photographed Alex Rogers. Admit that Alex

Rogers was three-dimensionally scanned. To the extent not expressly admitted, deny.

       5.      Admit that Activision Publishing, Inc. published the game Call of Duty: Modern

Warfare. Admit that Call of Duty: Modern Warfare includes an animated character named

Mara. Admit that an image of Mara was used to market certain downloadable content for Call of

Duty: Modern Warfare. To the extent not expressly admitted, deny.

II.    THE PARTIES

       6.      Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 6 and therefore deny the same.

       7.      Admit that Activision Publishing, Inc. is a corporation organized under the laws

of the State of Delaware. Admit that Activision Publishing, Inc. is ultimately owned by

Defendant Activision Blizzard, Inc. Admit that Activision Publishing, Inc. has done business in

Texas. Admit that Activision Publishing, Inc. may be served with process by serving its

registered agent, Corporation Service Company, 251 Little Falls Dr., Wilmington, Delaware

19808. Deny that Activision Publishing, Inc. has committed copyright infringement in the State

of Texas or elsewhere. To the extent not expressly admitted, deny.

       8.      Admit that Activision Blizzard, Inc. is a corporation organized under the laws of

the State of Delaware. Admit that Activision Blizzard, Inc. owns 100% of each of Activision

Publishing, Inc., Infinity Ward, Inc. and Major League Gaming Corp. Admit that Activision

Blizzard, Inc. has done business in the State of Texas. Admit that Activision Blizzard, Inc. may
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be served with process by serving its registered agent, Corporation Service Company, 251 Little

Falls Dr., Wilmington, Delaware 19808. Deny that Activision Blizzard, Inc. has committed

copyright infringement in the State of Texas or elsewhere. To the extent not expressly admitted,

deny.

        9.     Admit that Infinity Ward, Inc. is a corporation organized under the laws of the

State of Delaware. Admit that Infinity Ward, Inc. is ultimately owned by Activision Blizzard,

Inc. Deny that Infinity Ward has done business in the State of Texas. Admit that Infinity Ward,

Inc. may be served with process by serving its registered agent, Corporation Service Company,

251 Little Falls Dr., Wilmington, Delaware 19808. Deny that Infinity Ward, Inc. has committed

copyright infringement in the State of Texas or elsewhere. To the extent not expressly admitted,

deny.

        10.    Admit that Major League Gaming Corp. is a Delaware Corporation with its

principal place of business in California. Admit that Major League Gaming Corp. is a wholly

owned subsidiary of Activision Blizzard, Inc. Admit that Major League Gaming Corp. may be

served with process by serving its registered agent, Corporation Service Company, 251 Little

Falls Dr., Wilmington, Delaware 19808. Deny that Major League Gaming Corp. has done

business in the State of Texas. Deny that Major League Gaming Corp. has committed copyright

infringement in the State of Texas or elsewhere. To the extent not expressly admitted, deny.

        11.    Admit that Plaintiff collectively refers to Activision Publishing, Inc., Activision

Blizzard, Inc., Infinity Ward, Inc., and Major League Gaming Corp. as “Defendants” in the

Complaint.

III.    JURISDICTION AND VENUE

        12.    Admit that this action purports to arise under the copyright laws of the United

States, 17 U.S.C. § 101 et seq. Defendants do not contest that this Court has subject matter
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jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.

         13.    Plaintiffs’ description of the Copyright Act states a legal conclusion to which no

response is required. To any extent such a response is deemed necessary, deny. To the extent not

expressly admitted, deny.

         15.    Deny.

         16.    Deny.

IV.      FACTUAL BACKGROUND

         17.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 17 and therefore deny the same.

         A.     Haugen Writes November Renaissance, a Story Based on the Character
                “Cade Janus.”

         18.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 18 and therefore deny the same.

         19.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 19 and therefore deny the same.

         20.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 20 and therefore deny the same.

         B.     Haugen Creates the Cade Janus Photographs to Bring the Character to Life.

         22.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 22 and therefore deny the same.1

         C.     The Copyright Office Issues Registration Certificates for Haugen’s
                November Renaissance Works and Cade Janus Photographs.

         23.    Defendants lack knowledge or information sufficient to form a belief as to the



1
    The Complaint does not have a paragraph numbered 21.
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truth of the allegations of paragraph 23 and therefore deny the same.

               a.       Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 23.a. and therefore deny the same.

               b.       Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 23.b. and therefore deny the same.

       24.     Admit that Plaintiff refers collectively to the works described in paragraph 23 as

the “November Renaissance Works.” Defendants lack knowledge or information sufficient to

form a belief as to the truth of the remainder of the allegations of paragraph 24 and therefore

deny the same. Defendants further deny the allegations of paragraph 24 to the extent paragraph

24 states a legal conclusion regarding the nature and protectable status of the works to which no

response is required.

       25.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 25 and therefore deny the same.

               a.       Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 25.a. and therefore deny the same.

               b.       Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 25.b. and therefore deny the same.

               c.       Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 25.c. and therefore deny the same.

       26.     Admit that Plaintiff refers collectively to the works described in paragraph 25 as

the “Cade Janus Photographs.” Defendants lack knowledge or information sufficient to form a

belief as to the truth of the remainder of the allegations of paragraph 26 and therefore deny the

same. Defendants further deny the allegations of paragraph 26 to the extent paragraph 26 states
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a legal conclusion regarding the nature and protectable status of the works to which no response

is required.

        27.    Admit that registration has issued for certain works identified in subsequent

paragraphs with the United States Copyright Office.

               a.      Admit that the Copyright Office has issued copyright registration no.

TXu001822178 for a work titled November Renaissance to Clayton Haugen, with a registration

date of June 23, 2012. Except as expressly admitted, Defendants lack knowledge or information

sufficient to form a belief as to the truth of the allegations of paragraph 27.a. and therefore deny

the same.

               b.      Admit that the Copyright Office has issued copyright registration no.

TXu001862500 for a work titled November Renaissance Treatment to Clayton Haugen, with a

registration date of April 9, 2013. Except as expressly admitted, Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations of paragraph 27.b. and

therefore deny the same.

               c.      Admit that the Copyright Office has issued copyright registration no.

VA0002229431 for Cade Janus Photos 2017, Cade Janus 10,Cade Janus 14,Cade Janus 16,

with a registration date of December 21, 2020. Except as expressly admitted, Defendants lack

knowledge or information sufficient to form a belief as to the truth of the allegations of

paragraph 27.c. and therefore deny the same.

               d.      Admit that the Copyright Office has issued copyright registration no.

VA0002229397 for Cade Janus 9, DSC_9122.jpg, with a registration date of December 21,

2020. Except as expressly admitted, Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations of paragraph 27.d. and therefore deny the same
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               e.      Admit that the Copyright Office has issued copyright registration no.

VA0002232780 for Cade Janus Photos 2019, Cade Janus 1,Cade Janus 2,Cade Janus 3,Cade

Janus 4,Cade Janus 5,Cade Janus 6,Cade Janus 7,Cade Janus 8,Cade Janus 11,Cade Janus

12,Cade Janus 13,Cade Janus 15,Cade Janus 17,Cade Janus 18,Cade Janus 19,Cade Janus

20,Cade Janus 21,Cade Janus 22, with a registration date of January 12, 2021. Except as

expressly admitted, Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 27.e. and therefore deny the same.

       28.     Plaintiff’s description of the Copyright Act states a legal conclusion to which no

response is required. To any extent such a response is deemed necessary, deny.

       29.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 29 and therefore deny the same.

       D.      Defendants Infringe Haugen’s Copyrights in his Cade Janus Character and
               Photographs.

       30.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 30 and therefore deny the same.

       31.     Deny.

       32.     Deny.

       33.     Admit that the document titled “Project Odyssey” stated “Our casting should be

reflective of the makeup of the modern population.” To the extent not expressly admitted, deny.

       34.     Deny.

       35.     Deny.

       36.     Deny.

       37.     Deny.

       38.     Admit that the character Mara is a skilled fighter and female. To the extent not
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expressly admitted, deny.

        39.    Deny.

        40.    Deny.

        E.     Defendants Market and Release Call of Duty: Modern Warfare

        41.    Admit that the first image in paragraph 41 is an image used to market certain

downloadable content for Call of Duty: Modern Warfare. To the extent not expressly admitted,

deny.

        42.    Deny.

        43.    Admit that Activision Publishing, Inc. released Call of Duty: Modern Warfare on

October 25, 2019. Admit that in a press release dated October 30, 2019, Activision Publishing,

Inc. stated, “Activision’s Call of Duty®: Modern Warfare® had more than $600 million in sell-

through worldwide in its first three days of release. The title has sold more units in its first three

days than any other Call of Duty® game sold in its first three days in this console generation, and

is the top-selling new premium game release of 2019. Modern Warfare also established a new

record as the #1 top-selling digital opening in Activision history. With its blockbuster launch, in

its first three days of release, Call of Duty: Modern Warfare more than doubled the box office

opening of Joker. Modern Warfare set new records on the PlayStation Network for the highest

digital pre-orders and highest three-day digital sales ever on PlayStation 4. Modern Warfare also

has become the #1 top-selling Call of Duty PC launch ever . . .”

        44.    Admit that on December 18, 2019, Activision Publishing, Inc. released a press

release titled “Call of Duty: Modern Warfare Is #1 Most Played Call of Duty Multiplayer of This

Console Generation.” Admit that in a press release dated December 18, 2019, Activision

Publishing, Inc. stated, “Activision’s Call of Duty®: Modern Warfare® continues to drive

momentum delivering new highs in multiplayer engagement within the franchise for this console
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generation. Modern Warfare has outpaced all previous Call of Duty multiplayer experiences of

this generation in hours played, hours per player and average daily players on its way to

becoming the most played Call of Duty multiplayer in the first 50 days since launch in six years.

The award-winning title, which has sold more than $1 billion in sell-through worldwide, has

surpassed 500 million multiplayer hours played since release with nearly 300 million multiplayer

matches.”

         45.   Admit that Haugen has never given Defendants a direct, express license to any

work identified in the Complaint. To the extent not expressly admitted, deny.

         46.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

               a.      Deny.

               b.      Deny.

               c.      Deny.

               d.      Deny.

               e.      Deny.

               f.      Deny.

         47.   Deny.

         48.   Deny.

V.       CAUSE OF ACTION: COPYRIGHT INFRINGEMENT

         49.   Defendants incorporate by reference their responses set forth in paragraphs 1-48,

above.

         50.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

         51.   This paragraph states a legal conclusion to which no response is required. To the
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extent a response is deemed required, deny.

       52.     This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

       53.     This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

       54.     This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

       55.     This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

       56.     This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, deny.

VI.    JURY DEMAND

       57.     Defendants object to Plaintiff’s demand for a trial by jury. A claim for infringer’s

profits is an equitable one and is not triable of right by a jury. Furthermore, a claim for statutory

damages is not triable of right by a jury.

                            PLAINTIFF’S PRAYER FOR RELIEF

       No response is required. To the extent such a response is deemed necessary, Defendants

deny that Plaintiff is entitled to any of the relief requested and denies any factual allegations

contained therein.

                                  AFFIRMATIVE DEFENSES

       58.     Defendants assert defenses as set forth below. By pleading these defenses,

Defendants do not in any way agree or concede that Defendants have the burden of proof or

persuasion on any of these issues.

       59.     Defendants do not presently know all facts concerning the conduct of Plaintiff and
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the nature of Plaintiff’s claims and their defenses and/or counterclaims sufficient to state all

affirmative defenses and/or counterclaims at this time. In addition to the defenses described

below, Defendants expressly reserve the right to allege additional defenses and/or counterclaims

and amend their Answer to the Complaint as information becomes known through the course of

discovery or otherwise.

                                FIRST AFFIRMATIVE DEFENSE

                                 (Failure to State a Cause of Action)

       60.       The Complaint fails to state a claim on which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

                                (First Amendment and/or Fair Use)

       61.       Any use of Plaintiff’s copyrighted materials is protected by the First Amendment

of the United States Constitution and/or 17 U.S.C. § 107.

                               THIRD AFFIRMATIVE DEFENSE

                             (Waiver, Abandonment, and/or Forfeiture)

       62.       Plaintiff’s claims are barred in whole or in part by the doctrines of waiver,

abandonment, and/or forfeiture.

                              FOURTH AFFIRMATIVE DEFENSE

                                          (Unclean Hands)

       63.       Plaintiff’s claims are barred in whole or in part by the equitable doctrine of

unclean hands.

                                FIFTH AFFIRMATIVE DEFENSE

                                               (Laches)

       64.       Plaintiff’s claims are barred in whole or in part by the doctrine of laches.

                                SIXTH AFFIRMATIVE DEFENSE
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                                             (Estoppel)

        65.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.

                            SEVENTH AFFIRMATIVE DEFENSE

                          (Acquiescence, Ratification, and/or Consent)

        66.    Plaintiff’s claims are barred in whole or in part by the doctrines of acquiescence,

ratification, and/or consent.

                                EIGHTH AFFIRMATIVE DEFENSE

                                         (No Willfulness)

        67.    Plaintiff’s claims fail in whole or in part because Defendants’ conduct was

innocent, not willful.

                                NINTH AFFIRMATIVE DEFENSE

                                       (Failure to Mitigate)

        68.    Plaintiff’s remedies are barred from recovery of damages because of and to the

extent of their failure to mitigate their alleged damages (to which, in any event, they are not

entitled).

                                TENTH AFFIRMATIVE DEFENSE

                                            (Causation)

        69.    Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s damages, if

any, were caused by independent, intervening, and/or superseding events beyond the control of

Defendants and unrelated to Defendants’ conduct. Any loss, injury, or damage claimed by

Plaintiff was proximately caused by Plaintiff’s own acts or omissions, forces, or events unrelated

to Defendants’ conduct, and/or the acts or omissions of persons or entities other than Defendants,

which Defendants do not control.

                           ELEVENTH AFFIRMATIVE DEFENSE
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                                    (Injunctive Relief Unavailable)

       70.       Plaintiff is not entitled to injunctive relief because any alleged injury to Plaintiff is

not immediate or irreparable and because Plaintiff has an adequate remedy—if any—at law.

                              TWELTH AFFIRMATIVE DEFENSE

                                            (No Ownership)

       71.       Plaintiff’s claims are barred in whole or in part because Plaintiff does not own the

exclusive rights for some or all of the works.

                           THIRTEENTH AFFIRMATIVE DEFENSE

                                        (Independent Creation)

       72.       Plaintiff is not entitled to relief because the Mara character was independently

created by Defendants.

                           FOURTEENTH AFFIRMATIVE DEFENSE

                                          (Extraterritoriality)

       73.       Plaintiff’s claims are barred to the extent the accused conduct was undertaken

outside the United States.

                             FIFTEENTH AFFIRMATIVE DEFENSE

                                           (Improper Venue)

       74.       Plaintiff is barred from pursuing his claims in the Eastern District of Texas

because venue is improper with respect to each Defendant, including without limitation under 28

U.S.C. § 1400.

                             SIXTEENTH AFFIRMATIVE DEFENSE

                                    (Lack of Personal Jurisdiction)

       75.       This Court lacks general or specific personal jurisdiction over Major League

Gaming Corp.
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                           SEVENTEENTH AFFIRMATIVE DEFENSE

                                         (Implied License)

        76.     Plaintiff is not entitled to relief because Defendants had an implied license to use

the materials at issue.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

                          (Improper Venue Due to Forum Selection Clause)

        77.     Plaintiff is barred from pursuing his claims in the Eastern District of Texas

because Plaintiff agreed to the exclusive jurisdiction and venue of state or federal courts in Los

Angeles County, California to resolve, inter alia, claims for copyright infringement.




Dated: April 26, 2021                            DURIE TANGRI LLP


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                                                 ACTIVISION PUBLISHING, INC., ACTIVISION
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                                                 CORP., and INFINITY WARD, INC.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2021 the within document was filed with the Clerk of

the Court using CM/ECF which will send notification of such filing to the attorneys of record in

this case.

                                                     /s/ Melissa R. Smith
                                                     Melissa R. Smith
